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   13   MICHAEL SLAUGHTER
   14
   15                       UNITED STATES DISTRICT COURT
   16                     CENTRAL DISTRICT OF CALIFORNIA
   17
        HENRY LEE; and PATRICIA LEE,            CASE No.: 8:20-cv-01359-JVS-ADS
   18
                                                [Honorable James V. Selna]
   19                Plaintiffs,                Magistrate Judge Autumn D. Spaeth
   20          v.                               STIPULATED PROTECTIVE
   21                                           ORDER
        CITY OF ORANGE; BRYCE                   Scheduling Conference
   22   NEILSEN; MICHAEL                        Date: Monday, November 2, 2020
   23   SLAUGHTER; and DOES 3-10,               Time: 10:30 a.m.
        inclusive,                              Ctrm: 10C
   24
                            Defendants.               411 West Fourth Street
   25                                                 Santa Ana, CA 92701
   26
   27
   28
                                                1
                                   STIPULATED PROTECTIVE ORDER
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    1   I.    PURPOSES AND LIMITATIONS
    2         A.      Discovery in this action is likely to involve production of
    3   confidential, proprietary, or private information for which special protection from
    4   public disclosure and from use for any purpose other than prosecuting this
    5   litigation may be warranted. Accordingly, the parties hereby stipulate to and
    6   petition the Court to enter the following Stipulated Protective Order. The parties
    7   acknowledge that this Order does not confer blanket protections on all disclosures
    8   or responses to discovery and that the protection it affords from public disclosure
    9   and use extends only to the limited information or items that are entitled to
   10   confidential treatment under the applicable legal principles. The parties further
   11   acknowledge, as set forth in Section XIII(C), below, that this Stipulated Protective
   12   Order does not entitle them to file confidential information under seal; Civil Local
   13   Rule 79-5 sets forth the procedures that must be followed and the standards that
   14   will be applied when a party seeks permission from the Court to file material
   15   under seal.
   16   II.   GOOD CAUSE STATEMENT
   17         This action involves the officer-involved shooting of Erik Lee on December
   18   12, 2019. Following the shooting, the OCDA Special Assignment Unit
   19   (“OCDASAU”) conducted an investigation into the shooting. During the course
   20   of this investigation, 10 interviews were conducted, and nine additional witnesses
   21   were contacted during the supplemental canvass interviews. OCDASAU
   22   Investigators also obtained and reviewed the following: Orange Police
   23   Department reports, audio dispatch and radio traffic recordings, video footage,
   24   Orange County Crime Laboratory (OCCL) reports; including toxicology, forensic
   25   alcohol examination, taser deployment analysis, officer processing and firearms
   26   examination reports, crime scene investigation photographs, medical records and
   27   photographs related to the injuries sustained by Lee, criminal history records
   28   related to Lee; including prior incident reports involving Lee’s mental health, and
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    1   other relevant reports and materials including audio recordings of the conducted
    2   neighborhood canvass. Additionally, video recordings of the incident taken from
    3   the patrol cars on scene were reviewed.
    4          Other law enforcement agencies, including the defendant City of Orange's
    5   Police Department, may also have performed some aspects of this investigation or
    6   have performed related investigations that may involve officer personnel records
    7   or other confidential information. Special protection of these documents from
    8   public disclosure and from use for any purpose other than the prosecution,
    9   defense, and attempted settlement of this action is warranted. Public disclosures
   10   of such confidential and proprietary materials and information, information
   11   otherwise generally unavailable to the public, may be privileged or otherwise
   12   protected from disclosure under state or federal statutes, court rules, case
   13   decisions, or common law. Accordingly, to expedite the flow of information, to
   14   facilitate the prompt resolution of disputes over confidentiality of discovery
   15   materials, to adequately protect information the parties are entitled to keep
   16   confidential, to ensure that the parties are permitted reasonable necessary uses of
   17   such material in preparation for and in the conduct of trial, to address their
   18   handling at the end of the litigation, and serve the ends of justice, a protective
   19   order for such information is justified in this matter. It is the intent of the parties
   20   that information will not be designated as confidential for tactical reasons and that
   21   nothing be so designated without a good faith belief that it has been maintained in
   22   a confidential, non-public manner, and there is good cause why it should not be
   23   part of the public record of this case.
   24
   25   III.   DEFINITIONS
   26          A.    Action: This pending federal law suit.
   27          B.    Challenging Party: A Party or Non-Party that challenges the
   28   designation of information or items under this Order.
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    1          C.     “CONFIDENTIAL” Information or Items: Information (regardless
    2   of how it is generated, stored or maintained) or tangible things that qualify for
    3   protection under Federal Rule of Civil Procedure 26(c), and as specified above in
    4   the Good Cause Statement.
    5          D.     Counsel: Outside Counsel of Record and House Counsel (as well as
    6   their support staff).
    7          E.     Designating Party: A Party or Non-Party that designates information
    8   or items that it produces in disclosures or in responses to discovery as
    9   “CONFIDENTIAL.”
   10          F.     Disclosure or Discovery Material: All items or information,
   11   regardless of the medium or manner in which it is generated, stored, or maintained
   12   (including, among other things, testimony, transcripts, and tangible things), that
   13   are produced or generated in disclosures or responses to discovery in this matter.
   14          G.     Expert: A person with specialized knowledge or experience in a
   15   matter pertinent to the litigation who has been retained by a Party or its counsel to
   16   serve as an expert witness or as a consultant in this Action.
   17          H.     House Counsel: Attorneys who are employees of a party to this
   18   Action. House Counsel does not include Outside Counsel of Record or any other
   19   outside counsel.
   20          I.     Non-Party: Any natural person, partnership, corporation, association,
   21   or other legal entity not named as a Party to this action.
   22          J.     Outside Counsel of Record: Attorneys who are not employees of a
   23   party to this Action but are retained to represent or advise a party to this Action
   24   and have appeared in this Action on behalf of that party or are affiliated with a law
   25   firm which has appeared on behalf of that party, and includes support staff.
   26          K.     Party: Any party to this Action, including all of its officers,
   27   directors, employees, consultants, retained experts, and Outside Counsel of
   28   Record (and their support staffs).
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    1            L.    Producing Party: A Party or Non-Party that produces Disclosure or
    2   Discovery Material in this Action.
    3            M.    Professional Vendors: Persons or entities that provide litigation
    4   support services (e.g., photocopying, videotaping, translating, preparing exhibits
    5   or demonstrations, and organizing, storing, or retrieving data in any form or
    6   medium) and their employees and subcontractors.
    7            N.    Protected Material: Any Disclosure or Discovery Material that is
    8   designated as “CONFIDENTIAL.”
    9            O.    Receiving Party: A Party that receives Disclosure or Discovery
   10   Material from a Producing Party.
   11   IV.      SCOPE
   12            A.    The protections conferred by this Stipulation and Order cover not
   13   only Protected Material (as defined above), but also (1) any information copied or
   14   extracted from Protected Material; (2) all copies, excerpts, summaries, or
   15   compilations of Protected Material; and (3) any testimony, conversations, or
   16   presentations by Parties or their Counsel that might reveal Protected Material.
   17            B.    Any use of Protected Material at trial shall be governed by the orders
   18   of       the trial judge. This Order does not govern the use of Protected Material at
   19   trial.
   20   V.       DURATION
   21            Even after final disposition of this litigation, the confidentiality obligations
   22   imposed by this Order shall remain in effect until a Designating Party agrees
   23   otherwise in writing or a court order otherwise directs. Final disposition shall be
   24   deemed to be the later of (1) dismissal of all claims and defenses in this Action,
   25   with or without prejudice; and (2) final judgment herein after the completion and
   26   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
   27   including the time limits for filing any motions or applications for extension of
   28   time pursuant to applicable law.
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    1   VI.   DESIGNATING PROTECTED MATERIAL
    2         A.     Exercise of Restraint and Care in Designating Material for Protection
    3                1.     Each Party or Non-Party that designates information or items
    4   for protection under this Order must take care to limit any such designation to
    5   specific material that qualifies under the appropriate standards. The Designating
    6   Party must designate for protection only those parts of material, documents, items,
    7   or oral or written communications that qualify so that other portions of the
    8   material, documents, items, or communications for which protection is not
    9   warranted are not swept unjustifiably within the ambit of this Order.
   10                2.     Mass, indiscriminate, or routinized designations are prohibited.
   11   Designations that are shown to be clearly unjustified or that have been made for
   12   an improper purpose (e.g., to unnecessarily encumber the case development
   13   process or to impose unnecessary expenses and burdens on other parties) may
   14   expose the Designating Party to sanctions.
   15                3.     If it comes to a Designating Party’s attention that information
   16   or items that it designated for protection do not qualify for protection, that
   17   Designating Party must promptly notify all other Parties that it is withdrawing the
   18   inapplicable designation.
   19         B.     Manner and Timing of Designations
   20                1.     Except as otherwise provided in this Order (see, e.g., Section
   21   B(2)(b) below), or as otherwise stipulated or ordered, Disclosure or Discovery
   22   Material that qualifies for protection under this Order must be clearly so
   23   designated before the material is disclosed or produced.
   24                2.     Designation in conformity with this Order requires the
   25                       following:
   26                       a.      For information in documentary form (e.g., paper or
   27   electronic documents, but excluding transcripts of depositions or other pretrial or
   28   trial proceedings), that the Producing Party affix at a minimum, the legend
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    1   “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
    2   contains protected material. If only a portion or portions of the material on a page
    3   qualifies for protection, the Producing Party also must clearly identify the
    4   protected portion(s) (e.g., by making appropriate markings in the margins).
    5                       b.     A Party or Non-Party that makes original documents
    6   available for inspection need not designate them for protection until after the
    7   inspecting Party has indicated which documents it would like copied and
    8   produced. During the inspection and before the designation, all of the material
    9   made available for inspection shall be deemed “CONFIDENTIAL.” After the
   10   inspecting Party has identified the documents it wants copied and produced, the
   11   Producing Party must determine which documents, or portions thereof, qualify for
   12   protection under this Order. Then, before producing the specified documents, the
   13   Producing Party must affix the “CONFIDENTIAL legend” to each page that
   14   contains Protected Material. If only a portion or portions of the material on a page
   15   qualifies for protection, the Producing Party also must clearly identify the
   16   protected portion(s) (e.g., by making appropriate markings in the margins).
   17                       c.     For testimony given in depositions, that the Designating
   18   Party identify the Disclosure or Discovery Material on the record, before the close
   19   of the deposition all protected testimony.
   20                       d.     For information produced in form other than document
   21   and for any other tangible items, that the Producing Party affix in a prominent
   22   place on the exterior of the container or containers in which the information is
   23   stored the legend “CONFIDENTIAL.” If only a portion or portions of the
   24   information warrants protection, the Producing Party, to the extent practicable,
   25   shall identify the protected portion(s).
   26         C.     Inadvertent Failure to Designate
   27                1.     If timely corrected, an inadvertent failure to designate qualified
   28   information or items does not, standing alone, waive the Designating Party’s right
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    1   to secure protection under this Order for such material. Upon timely correction of
    2   a designation, the Receiving Party must make reasonable efforts to assure that the
    3   material is treated in accordance with the provisions of this Order.
    4   VII. CHALLENGING CONFIDENTIALITY DESIGNATIONS
    5         A.     Timing of Challenges
    6                1.     Any party or Non-Party may challenge a designation of
    7         confidentiality at any time that is consistent with the Court’s Scheduling
    8         Order.
    9         B.     Meet and Confer
   10                1.     The Challenging Party shall initiate the dispute resolution
   11         process under Local Rule 37.1 et seq.
   12         C.     The burden of persuasion in any such challenge proceeding shall be
   13   on the Designating Party. Frivolous challenges, and those made for an improper
   14   purpose (e.g., to harass or impose unnecessary expenses and burdens on other
   15   parties) may expose the Challenging Party to sanctions. Unless the Designating
   16   Party has waived or withdrawn the confidentiality designation, all parties shall
   17   continue to afford the material in question the level of protection to which it is
   18   entitled under the Producing Party’s designation until the Court rules on the
   19   challenge.
   20   VIII. ACCESS TO AND USE OF PROTECTED MATERIAL
   21         A.     Basic Principles
   22                1.     A Receiving Party may use Protected Material that is disclosed
   23   or produced by another Party or by a Non-Party in connection with this Action
   24   only for prosecuting, defending, or attempting to settle this Action. Such
   25   Protected Material may be disclosed only to the categories of persons and under
   26   the conditions described in this Order. When the Action has been terminated, a
   27   Receiving Party must comply with the provisions of Section XIV below.
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    1                  2.   Protected Material must be stored and maintained by a
    2   Receiving Party at a location and in a secure manner that ensures that access is
    3   limited to the persons authorized under this Order.
    4         B.       Disclosure of “CONFIDENTIAL” Information or Items
    5                  1.   Unless otherwise ordered by the Court or permitted in writing
    6   by the Designating Party, a Receiving Party may disclose any information or item
    7   designated “CONFIDENTIAL” only to:
    8                       a.    The Receiving Party’s Outside Counsel of Record in this
    9   Action, as well as employees of said Outside Counsel of Record to whom it is
   10   reasonably necessary to disclose the information for this Action;
   11                       b.    The officers, directors, and employees (including House
   12   Counsel) of the Receiving Party to whom disclosure is reasonably necessary for
   13   this Action;
   14                       c.    Experts (as defined in this Order) of the Receiving Party
   15   to whom disclosure is reasonably necessary for this Action and who have signed
   16   the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
   17                       d.    The Court and its personnel;
   18                       e.    Court reporters and their staff;
   19                       f.    Professional jury or trial consultants, mock jurors, and
   20   Professional Vendors to whom disclosure is reasonably necessary or this Action
   21   and who have signed the “Acknowledgment and Agreement to be Bound”
   22   attached as Exhibit A hereto;
   23                       g.    The author or recipient of a document containing the
   24   information or a custodian or other person who otherwise possessed or knew the
   25   information;
   26                       h.    During their depositions, witnesses, and attorneys for
   27   witnesses, in the Action to whom disclosure is reasonably necessary provided: (i)
   28   the deposing party requests that the witness sign the “Acknowledgment and
                                                 9
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     1   Agreement to Be Bound;” and (ii) they will not be permitted to keep any
     2   confidential information unless they sign the “Acknowledgment and Agreement to
     3   Be Bound,” unless otherwise agreed by the Designating Party or ordered by the
     4   Court. Pages of transcribed deposition testimony or exhibits to depositions that
     5   reveal Protected Material may be separately bound by the court reporter and may
     6   not be disclosed to anyone except as permitted under this Stipulated Protective
     7   Order; and
     8                        i.     Any mediator or settlement officer, and their supporting
     9   personnel, mutually agreed upon by any of the parties engaged in settlement
   10    discussions.
   11
   12    ///
   13    IX.   PROTECTED MATERIAL SUPOENAED OR ORDERED
   14    PRODUCED IN OTHER LITIGATION
   15          A.       If a Party is served with a subpoena or a court order issued in other
   16    litigation that compels disclosure of any information or items designated in this
   17    Action as “CONFIDENTIAL,” that Party must:
   18                   1.    Promptly notify in writing the Designating Party. Such
   19    notification shall include a copy of the subpoena or court order;
   20                   2.    Promptly notify in writing the party who caused the subpoena
   21    or order to issue in the other litigation that some or all of the material covered by
   22    the subpoena or order is subject to this Protective Order. Such notification shall
   23    include a copy of this Stipulated Protective Order; and
   24                   3.    Cooperate with respect to all reasonable procedures sought to
   25    be pursued by the Designating Party whose Protected Material may be affected.
   26          B.       If the Designating Party timely seeks a protective order, the Party
   27    served with the subpoena or court order shall not produce any information
   28    designated in this action as “CONFIDENTIAL” before a determination by the
                                                    10
                                   STIPULATED PROTECTIVE ORDER
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     1   Court from which the subpoena or order issued, unless the Party has obtained the
     2   Designating Party’s permission. The Designating Party shall bear the burden and
     3   expense of seeking protection in that court of its confidential material and nothing
     4   in these provisions should be construed as authorizing or encouraging a Receiving
     5   Party in this Action to disobey a lawful directive from another court.
     6   X.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
     7         PRODUCED IN THIS LITIGATION
     8         A.       The terms of this Order are applicable to information produced by a
     9   Non-Party in this Action and designated as “CONFIDENTIAL.” Such
   10    information produced by Non-Parties in connection with this litigation is protected
   11    by the remedies and relief provided by this Order. Nothing in these provisions
   12    should be construed as prohibiting a Non-Party from seeking additional
   13    protections.
   14          B.       In the event that a Party is required, by a valid discovery request, to
   15    produce a Non-Party’s confidential information in its possession, and the Party is
   16    subject to an agreement with the Non-Party not to produce the Non-Party’s
   17    confidential information, then the Party shall:
   18                   1.    Promptly notify in writing the Requesting Party and the Non-
   19    Party that some or all of the information requested is subject to a confidentiality
   20    agreement with a Non-Party;
   21                   2.    Promptly provide the Non-Party with a copy of the Stipulated
   22    Protective Order in this Action, the relevant discovery request(s), and a reasonably
   23    specific description of the information requested; and
   24                   3.    Make the information requested available for inspection by the
   25    Non-Party, if requested.
   26          C.       If the Non-Party fails to seek a protective order from this court
   27    within 14 days of receiving the notice and accompanying information, the
   28    Receiving Party may produce the Non-Party’s confidential information responsive
                                                    11
                                    STIPULATED PROTECTIVE ORDER
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     1   to the discovery request. If the Non-Party timely seeks a protective order, the
     2   Receiving Party shall not produce any information in its possession or control that
     3   is subject to the confidentiality agreement with the Non-Party before a
     4   determination by the court. Absent a court order to the contrary, the Non-Party
     5   shall bear the burden and expense of seeking protection in this court of its
     6   Protected Material.
     7   XI.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
     8         A.     If a Receiving Party learns that, by inadvertence or otherwise, it has
     9   disclosed Protected Material to any person or in any circumstance not authorized
   10    under this Stipulated Protective Order, the Receiving Party must immediately (1)
   11    notify in writing the Designating Party of the unauthorized disclosures, (2) use its
   12    best efforts to retrieve all unauthorized copies of the Protected Material, (3)
   13    inform the person or persons to whom unauthorized disclosures were made of all
   14    the terms of this Order, and (4) request such person or persons to execute the
   15    “Acknowledgment and Agreement to be Bound” that is attached hereto as Exhibit
   16    A.
   17    XII. INADVERTENT PRODUCTION OF PRIVILEGED OR
   18    OTHERWISE PROTECTED MATERIAL
   19          A.     When a Producing Party gives notice to Receiving Parties that certain
   20    inadvertently produced material is subject to a claim of privilege or other
   21    protection, the obligations of the Receiving Parties are those set forth in Federal
   22    Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify
   23    whatever procedure may be established in an e-discovery order that provides for
   24    production without prior privilege review. Pursuant to Federal Rule of Evidence
   25    502(d) and (e), insofar as the parties reach an agreement on the effect of
   26    disclosure of a communication or information covered by the attorney-client
   27    privilege or work product protection, the parties may incorporate their agreement
   28    in the Stipulated Protective Order submitted to the Court.
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                                  STIPULATED PROTECTIVE ORDER
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     2   XIII. MISCELLANEOUS
     3         A.     Right to Further Relief
     4                1.     Nothing in this Order abridges the right of any person to seek
     5   its modification by the Court in the future.
     6         B.     Right to Assert Other Objections
     7                1.     By stipulating to the entry of this Protective Order, no Party
     8   waives any right it otherwise would have to object to disclosing or producing any
     9   information or item on any ground not addressed in this Stipulated Protective
   10    Order. Similarly, no Party waives any right to object on any ground to use in
   11    evidence of any of the material covered by this Protective Order.
   12          C.     Filing Protected Material
   13                 1.     A Party that seeks to file under seal any Protected Material
   14    must comply with Civil Local Rule 79-5. Protected Material may only be filed
   15    under seal pursuant to a court order authorizing the sealing of the specific
   16    Protected Material at issue. If a Party's request to file Protected Material under
   17    seal is denied by the Court, then the Receiving Party may file the information in
   18    the public record unless otherwise instructed by the Court.
   19    XIV. FINAL DISPOSITION
   20          A.     After the final disposition of this Action, as defined in Section V,
   21    within sixty (60) days of a written request by the Designating Party, each
   22    Receiving Party must return all Protected Material to the Producing Party or
   23    destroy such material. As used in this subdivision, “all Protected Material”
   24    includes all copies, abstracts, compilations, summaries, and any other format
   25    reproducing or capturing any of the Protected Material. Whether the Protected
   26    Material is returned or destroyed, the Receiving Party must submit a written
   27    certification to the Producing Party (and, if not the same person or entity, to the
   28    Designating Party) by the 60 day deadline that (1) identifies (by category, where
                                                  13
                                  STIPULATED PROTECTIVE ORDER
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     1   appropriate) all the Protected Material that was returned or destroyed and (2)
     2   affirms that the Receiving Party has not retained any copies, abstracts,
     3   compilations, summaries or any other format reproducing or capturing any of the
     4   Protected Material. Notwithstanding this provision, Counsel are entitled to retain
     5   an archival copy of all pleadings, motion papers, trial, deposition, and hearing
     6   transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
     7   reports, attorney work product, and consultant and expert work product, even if
     8   such materials contain Protected Material. Any such archival copies that contain
     9   or constitute Protected Material remain subject to this Protective Order as set forth
   10    in Section V.
   11          B.     Any violation of this Order may be punished by any and all
   12    appropriate measures including, without limitation, contempt proceedings and/or
   13    monetary sanctions.
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   17    ///
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                                  STIPULATED PROTECTIVE ORDER
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     2
     3   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD
     4
     5
     6   Dated: October 27, 2020           LAW OFFICES OF DALE K. GALIPO
     7
                                           By:          /s/ Marcel F. Sincich
     8                                     Dale K. Galipo
     9                                     Marcel F. Sincich
                                           Attorney for Plaintiffs, HENRY LEE and
   10                                      PATRICIA LEE

   11
   12    Dated: October 27, 2020           MANNING & KASS, ELLROD,
   13                                      RAMIREZ, TRESTER LLP
   14
                                           By:          /s/ G. Craig Smith
   15                                      Mildred K. O’Linn
   16                                      G. Craig Smith
                                           Attorneys for Defendants, CITY OF
   17                                      ORANGE, BRYCE NIELSEN,
   18                                      MICHAEL SLAUGHTER

   19
   20
         FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
   21
   22
         Dated: October 27, 2020               /s/ Autumn D. Spaeth
   23                                      HONORABLE AUTUMN D. SPAETH
   24                                      United States Magistrate Judge

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                                            15
                               STIPULATED PROTECTIVE ORDER
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                                        EXHIBIT A
     1                   ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
     2
     3             I,                                    [print or type full name], of

     4                   [print or type full address], declare under penalty of perjury that I have read in
     5   its entirety and understand the Stipulated Protective Order that was issue by the United States
     6
         District Court for the Central District of California on October 23, 2020 in the case of Lee, et al
     7
         v. City of Orange, et al., Case No. 8:20-cv-01359-JVS-ADS. I agree to comply with and to be
     8
         bound by all the terms of this Stipulated Protective Order and I understand and acknowledge
     9
   10    that failure to so comply could expose me to sanctions and punishment in the nature of

   11    contempt. I solemnly promise that I will not disclose in any manner any information or item
   12    that is subject to this Stipulated Protective Order to any person or entity except in strict
   13
         compliance with the provisions of this Order.
   14
                 I further agree to submit to the jurisdiction of the United States District Court for the
   15
         Central District of California for the purpose of enforcing the terms of this Stipulated Protective
   16
   17    Order, even if such enforcement proceedings occur after termination of this action. I hereby

   18    appoint                                         [print or type full name] of

   19                    [print or type full address and telephone number] as my California agent for
   20    service of process in connection with this action or any proceedings related to enforcement of
   21
         this Stipulated Protective Order.
   22
         Date:
   23
         City and State where sworn and signed:
   24
   25    Printed Name:

   26    Signature:

   27
   28
                                                          16
                                      STIPULATED PROTECTIVE ORDER
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                                  CERTIFICATE OF SERVICE
     1
         STATE OF CALIFORNIA, COUNTY OF ORANGE
     2
                At the time of service, I was over 18 years of age and not a party to this
     3   action. I am employed in the County of Orange, State of California. My business
         address is 19800 MacArthur Blvd, Suite 900, Irvine, CA 92612.
     4
                On October 26,2020, I served true copies of the following document(s)
     5   described as STIPULATED PROTECTIVE ORDER on the interested parties in
         this action as follows:
     6
               Dale K Galipo
     7         Marcel F Sincich
               LAW OFFICES OF DALE GALIPO
     8         21800 Burbank Boulevard Suite 310
               Woodland Hills, CA 91367-6479
     9         Tel: 818-347-3333
               Fax: 818-347-4118
   10          dalekgalipo@yahoo.com;
               msincich@galipolaw.com
   11
               Attorneys for Plaintiffs, Henry Lee and
   12          Patricia Lee
   13           BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of
         the document(s) to be sent from e-mail address dfe@manningllp.com to the
   14    persons at the e-mail addresses listed in the Service List. I did not receive, within
         a reasonable time after the transmission, any electronic message or other
   15    indication that the transmission was unsuccessful.
   16           I declare under penalty of perjury under the laws of the State of California
         that the foregoing is true and correct.
   17
               Executed on October 26,2020, at Irvine, California.
   18
   19
   20                                                    /s/ Diane Esparza
                                                   Diane Esparza
   21
   22
   23
   24
   25
   26
   27
   28
                                                  17
                                  STIPULATED PROTECTIVE ORDER
